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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

        Defendant.


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S RESPONSE
   REGARDING MOTION TO DISCLOSE ALL EX PARTE COMMUNICATIONS
     BETWEEN THE COURT AND THE GOVERNMENT REGARDING THE
    GOVERNMENT’S INTENTION TO SEEK A SUPERSEDING INDICTMENT

       Defendant Concord Management and Consulting LLC (“Concord”), through counsel,

submits this response regarding its Motion to Disclose, ECF No. 225, pursuant to the Court’s

November 7, 2019 Minute Order. Concord does not have any position with respect to redactions

to the materials disclosed in connection with the Motion, including the transcript of the November

7, 2019 sealed telephone conference.

 Dated: November 8, 2019                           Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel
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